
PER CURIAM.
The trial court summarily denied appellant’s motion for postconvietion relief filed pursuant to rule 3.850, Florida Rules of Criminal Procedure, but failed to attach those portions of the record conclusively showing that he is entitled to no relief. We reverse and remand this cause to the trial court for an evidentiary hearing or for attachment of those parts of the record showing that appellant is not entitled to relief. See Taylor v. State, 583 So.2d 823 (Fla. 4th DCA 1991); Gentry v. State, 464 So.2d 659 (Fla. 4th DCA 1985).
REVERSED and REMANDED.
DELL, FARMER and SHAHOOD, JJ., concur.
